         Case 18-52363-jwc          Doc 6 Filed 02/12/18 Entered 02/12/18 15:33:02                    Desc New
                                     Petition Deficiency Notice Page 1 of 1
                      UNITED STATES BANKRUPTCY COURT, Northern District of Georgia
                                            Atlanta Division
                                      1340 United States Courthouse
                                        75 Ted Turner Drive SW
                                           Atlanta, GA 30303
                                         www.ganb.uscourts.gov
In Re:
         Millard Courtney Farmer Jr.                          Case No.: 18−52363−a998
                                                              Chapter: 13
                                                              Judge: a998

                  NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCY(IES)
NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, which was filed on 2/9/18, contains one or
more filing deficiencies which must be corrected. Deficiencies in the items listed below may include failure to file the
document, failure to sign the document or failure to submit the document on a form that substantially conforms to the Official
Bankruptcy Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms,
instructions and guidelines are on the court website www.ganb.uscourts.gov. Failure to correct a deficiency on or before the
deadline(s) shown below may result in dismissal of this case without further notice or opportunity for hearing.

To be filed by 02/16/18
None Apply

To be Filed by 02/23/18
Statement of Financial Affairs (Official Form B107)
Schedules A/B thru J (Official Forms B106A/B − B106J)
Summary of Assets and Liabilities (Official Form B106 Summary)
Declaration About Debtors Schedules (Official Form B106)
Attorney Disclosure of Compensation Form (Official Form B2030)
Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Form B122 C−1) and, if
applicable, Chapter 13 Calculation of Your Disposable Income (Form B122 C−2)
Chapter 13 Plan, complete with signatures (to be served by debtor's counsel, if applicable)
Pay Advices: (A) Copies of Pay Stubs (or other evidence of payment) received from any employer within 60 days prior to
filing or alternatively (B) a Statement signed by the Debtor certifying within 60 days prior to filing, the Debtor 1 did not
receive pay stubs from any employer and was either Unemployed, self−employed or other explanation.




To be filed by 03/11/18
None Apply


Failure to timely file missing documents or correct deficiencies may result in the dismissal of your bankruptcy case
without further notice or opportunity for hearing.

Dated: 2/12/18                                                M. Regina Thomas
                                                              Clerk of Court
Form 430b December 2017                                       By: Tanicha R. Powell
                                                               Deputy Clerk
